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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Northern Division


Rehab.com, LLC,

       Plaintiff,

v.
                                                   Case No. 1:23-cv-01592
Daniel Velez,
Luis Silva, and
Kyle Rice.

       Defendants.


           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       The Parties have resolved their dispute, and pursuant to a confidential settlement

agreement and Fed. R. Civ. P. 41(a)(1)(i), Plaintiff Rehab.com, LLC agrees to dismiss its

Complaint against Defendants Daniel Velez, Luis Silva, and Kyle Rice with prejudice.

       WHEREFORE, Plaintiff requests that the Court enters a final order of dismissal with

prejudice, as to all outstanding claims in the above-styled case.

                                                      Respectfully submitted,

Dated: June 28, 2023

                                              /s/ Adam B. Abelson        .
                                              Adam B. Abelson (D. Md. Bar No. 29532)
                                              M Moore (pro hac vice)
                                              ZUCKERMAN SPAEDER LLP
                                              100 East Pratt Street - Suite 2440
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v.
                                                     Case No. 1:23-cv-01592
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Luis Silva, and
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       Defendants.


                                          [PROPOSED]

                                    ORDER OF DISMISSAL

       THIS CAUSE having come before the Court on the Stipulation of Voluntary Dismissal

with Prejudice of all pending claims, it is hereby

       ORDERED AND ADJUDGED that all pending claims against Defendants in the above-

styled cause be, and the same are, hereby dismissed with prejudice, with each party to bear its

own costs and fees.

       DONE AND ORDERED this ________ day of _______________, 2023.



                                              ____________________________________
                                              Judge, United States District Court for the District
                                              of Maryland


Copies furnished to all counsel of record via CM/ECFp




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